                                Case:24-01637-jwb                Doc #:1 Filed: 06/20/2024                    Page 1 of 51


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                2 Fish Company, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  430 E. 8th St.
                                  675 E. 16th Street, #230                                        PMB 196
                                  Holland, MI 49423                                               Holland, MI 49423
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Ottawa                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.2fishco.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                Case:24-01637-jwb                   Doc #:1 Filed: 06/20/2024                        Page 2 of 51
Debtor    2 Fish Company, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5418

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                  Case:24-01637-jwb                      Doc #:1 Filed: 06/20/2024                      Page 3 of 51
Debtor    2 Fish Company, LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                         Case:24-01637-jwb               Doc #:1 Filed: 06/20/2024                  Page 4 of 51
Debtor   2 Fish Company, LLC                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                Case:24-01637-jwb                Doc #:1 Filed: 06/20/2024                       Page 5 of 51
Debtor    2 Fish Company, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 19, 2024
                                                  MM / DD / YYYY


                             X /s/ Scott Millen                                                           Scott Millen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X /s/ James R. Oppenhuizen                                                    Date June 19, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James R. Oppenhuizen
                                 Printed name

                                 Oppenhuizen Law Firm, PLC
                                 Firm name

                                 125 Ottawa Ave. NW, Suite 237
                                 Grand Rapids, MI 49503
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     616-730-1861                  Email address      joppenhuizen@oppenhuizenlaw.com

                                 P68715 MI
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         2 Fish Company, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 19, 2024                   X /s/ Scott Millen
                                                           Signature of individual signing on behalf of debtor

                                                            Scott Millen
                                                            Printed name

                                                            Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                Case:24-01637-jwb                 Doc #:1 Filed: 06/20/2024                          Page 7 of 51


 Fill in this information to identify the case:
 Debtor name 2 Fish Company, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                MICHIGAN
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    Credit Card                                                                                                 $44,166.34
 PO Box 981537                                       Purchases
 El Paso, TX               800-492-3344
 79998-1537
 American Express                                    Credit Card                                                                                                   $7,524.12
 PO Box 981537                                       Purchases
 El Paso, TX               800-492-3344
 79998-1537
 ASTA-USA                  Karen Harmon,                                                                                                                           $3,067.87
 Translation Svc.          AP/AR Admin
 Attn Karen Harmon,
 AP/AR Admin               Karen@asta-usa.co
 PO Box 22259              m
 Cheyenne, WY              8664461860 Ext.
 82003-2148                705
 Bay First National        Jackie Levy       SBA 7(A) Loan -                                                                                                   $234,170.05
 Bank                                        Note, UCC-1
 700 Central Avenue        jackie@firsthomeb Termination filed
 Saint Petersburg, FL      ank.com           January 12, 2024.
 33701                     8336982265
 Brkthru Digital           Chad Burkett                                                                                                                          $33,374.04
 600 Third Avenue
 2nd Floor                 chad@brkthrudigit
 New York, NY 10016        al.com
                           845-527-5756
 Capital One                                         Credit Card                                                                                                   $6,019.01
 Spark Card                                          Purchases
 PO Box 30285
 Salt Lake City, UT
 84130-0285
 City of Grand                                       Withholding Tax                                                                                               $1,770.43
 Rapids
 Treasurer                 6164563020
 300 Monroe Ave.
 NW
 Grand Rapids, MI
 49503


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                Case:24-01637-jwb                 Doc #:1 Filed: 06/20/2024                          Page 8 of 51



 Debtor    2 Fish Company, LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Consumers Credit          Julie Baltmanis           First Priority                                         $11,887.03                 $51,819.36                $11,887.03
 Union                                               Security Interest
 PO Box 525                julie@consumersc          in Deposit
 Oshtemo, MI               u.org                     Accounts at
 49077-0525                616-393-0555 Ext          Consumers Credit
                           1370                      Union; Third
                                                     Priority All Assets
 Exceed Consulting, Megan Mayer                                                                                                                                    $1,700.00
 LLC
 PO Box 530            mayers@exceed-c
 Byron Center, MI      orp.com
 49315
 Geenen & Kolean,      Emily                         Accounting                                                                                                    $5,845.00
 PC                    Colenbrander                  Services
 246 S. River Avenue,
 Ste. 201              ecolenbrander@cp
 Holland, MI 49423     amichigan.com
                       6163930398
 Idea 247, Inc.        Justin Leto                   Fourth Priority All                                    $75,875.85                 $51,819.36                $75,875.85
 dba Idea Financial                                  Assets
 c/o Justin Leto       `
 200 SE 1st St., Suite
 703
 Miami, FL 33131
 Internal Revenue                                    Payroll Tax                                                                                                 $22,823.86
 Service                                             Liabilities (Form
 Centralized                                         941)
 Insolvency Ops
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Internal Revenue                                    Payroll Tax                                                                                                   $9,687.86
 Service                                             Liabilities (Form
 Centralized                                         941) 2024 ONLY
 Insolvency Ops
 PO Box 7346
 Philadelphia, PA
 19101-7346
 ISK Pro                                                                                                                                                           $1,250.00
 401 Park Ave. S.
 10th Floor
 New York, NY 10016
 Michigan Dept. of                                   Withholding Tax                                                                                               $1,218.29
 Treasury
 Tax Collection and
 Enforcement
 Bankruptcy Sectioni
 Treasury Building
 Lansing, MI
 48922-0001




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                Case:24-01637-jwb                 Doc #:1 Filed: 06/20/2024                          Page 9 of 51



 Debtor    2 Fish Company, LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Paragraph Writing         Pam Patton                                                                                                                              $5,110.00
 Services
 2318 Radcliff Village     pam@paragraphwr
 Dr. SE                    iting.com
 Grand Rapids, MI
 49546
 Rebecca Westhof           Rebecca Westof            Bookkeeping                                                                                                 $15,809.46
 6140 Lamb Creek                                     Services
 Dr.                       westofsolutions@g
 Fort Worth, TX            mail.com
 76179
 River Run Press                                                                                                                                                   $2,493.73
 600 Shoppers Lane         billing@riverrun.co
 Parchment, MI             m
 49004
 Small Business                                      Second Priority                                       $326,722.06                 $51,819.36              $292,514.32
 Admin.                                              security interest
 409 3rd. St. SW                                     in All tangible and
 Washington, DC                                      intagible personal
 20416                                               property. EIDL
 Wheeler Upham             Michael TerBeek           Legal Services                                                                                                $4,246.59
 250 Monroe Ave.
 NW, Sutie 100             terbeek@wuattorn
 Grand Rapids, MI          eys.com
 49503                     6164597100




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                                     Case:24-01637-jwb                                  Doc #:1 Filed: 06/20/2024                                           Page 10 of 51

Fill in this information to identify the case:

Debtor name           2 Fish Company, LLC

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $            57,460.57

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $            57,460.57


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           432,096.56


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            37,029.27

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           365,726.21


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $             834,852.04




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                           Case:24-01637-jwb             Doc #:1 Filed: 06/20/2024                 Page 11 of 51

Fill in this information to identify the case:

Debtor name      2 Fish Company, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.        Cash on hand                                                                                                                      $100.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number
                 Consumers Credit Union - Debtor has
                 no access to account, believes that
          3.1.   there is no money in the account.               Business Savings                6033                                             $0.00


                 Consumers Credit Union - Debtor has
                 no access to account and believes
          3.2.   there is no money in the account.               Money Market                    6119                                             $0.00


                 Consumers Credit Union - Debtor has
                 no access to account and believes
          3.3.   there is no money in the account.               Business Checking               9799                                             $0.00




          3.4.   Flagstar Bank                                   Business Checking               5992                                       $141.86




          3.5.   Chase                                           Savings                         2773                                       $200.00




          3.6.   Chase                                           Business Checking               6199                                     $1,765.21

Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                                 page 1
                               Case:24-01637-jwb              Doc #:1 Filed: 06/20/2024                      Page 12 of 51

Debtor           2 Fish Company, LLC                                                      Case number (If known)
                 Name




4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                    $2,207.07
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   Security deposit held by landlord in relation to lease of 675 E. 16th St. #230, Holland, MI
                   49423. Security Deposit held totals $1,105.00. Value discounted 50% to account for
                   Debtor having no right to receive funds until two years and seven months from now, at
          7.1.     which point, the right to receive the funds is contingent.                                                     $552.50



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                     $552.50
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     50,000.00      -                            5,000.00 = ....            $45,000.00
                                       face amount                          doubtful or uncollectible accounts




          11b. Over 90 days old:                         1,000.00      -                                   0.00 =....            $1,000.00
                                       face amount                          doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                   $46,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                               page 2
                             Case:24-01637-jwb           Doc #:1 Filed: 06/20/2024                  Page 13 of 51

Debtor       2 Fish Company, LLC                                                     Case number (If known)
             Name



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                       Net book value of          Valuation method used   Current value of
                                                                    debtor's interest          for current value       debtor's interest
                                                                    (Where available)

39.       Office furniture
          Office Furniture multiple L shaped desks /
          workstations, task chairs, file storage and
          related items, as well as tables and conference
          table seating.                                                           $0.00                                          $2,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers: 8 MacBook Pros and 2 MacBooks
          acquired in 2016 or 2017. Three require
          significant repairs. The rest are functional. 4
          iPads (1 mini, 1 pro, 2 regular) One is a sixth
          generation, the rest are fifth. One Mac Mini.
          One Sony Touch Projector, 2 Touch Screen
          Interfaces, 2 Dell PCs. All equipment is old.
          Value estimated based on reasonable belief as
          to how much these could be sold for.
          Location of each will be provided upon
          request.                                                                 $0.00                                          $3,000.00


          A/V Equipment including Vameras with
          various attachments, Speakers, Microphones,
          Samsung 43 Inch 4K UHD Television, Stands
          for various equipment and lighting, cords and
          cables for same. Location for each item and
          detailed list will be provided upon request.
          Value estimated based upon general
          knowledge of equipment such as this.                                     $0.00                                          $1,500.00


          Various routers, printers, multifunction print
          machines, specialty scanner, telephones and
          Apple TV machines (standard and 4K). Full list
          to be provided upon request along with
          location of each item thereon. Estimated value
          based upon personal knowledge.                                           $0.00                                          $1,000.00


          Various office equipment not otherwise listed.                           $0.00                                            $500.00



Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                                       page 3
                            Case:24-01637-jwb                    Doc #:1 Filed: 06/20/2024                 Page 14 of 51

Debtor        2 Fish Company, LLC                                                            Case number (If known)
              Name

           Ikea Desks, bookshelves, dividers work table,
           various task chairs; Ikea drawer units and file
           cabinets, reception seating and tables. Value
           estimated. Locations and specific locations to
           be provided upon request.                                                       $0.00                                          $500.00


           Small Claims Judgment against Gabe
           Valentine. Likely uncollectable. Face value
           $403.75. Value discounted to account for time
           value of money owed and lack of collectability.                                 $0.00                                          $100.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                             $8,600.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.2fishco.com - Business Website.                                       Unknown         N/A                                     $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 4
                               Case:24-01637-jwb                 Doc #:1 Filed: 06/20/2024                    Page 15 of 51

Debtor        2 Fish Company, LLC                                                          Case number (If known)
              Name

           Client List - The list has no significant value on
           its own, as to the extent clients are loyal, they
           are loyal to the individual who provides the
           services rather than the company. Would be
           assigned value if included in the sale of the
           company as a going concern for accounting
           purposes.                                                                     $0.00                                          $100.00



64.        Other intangibles, or intellectual property

65.        Goodwill
           Goodwill and brand value accumulated over
           12 years of operations.                                                       $0.00                                              $1.00




66.        Total of Part 10.                                                                                                          $101.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
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Debtor          2 Fish Company, LLC                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $2,207.07

81. Deposits and prepayments. Copy line 9, Part 2.                                                                      $552.50

82. Accounts receivable. Copy line 12, Part 3.                                                                     $46,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $8,600.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                       $101.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $57,460.57          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $57,460.57




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 6
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Fill in this information to identify the case:

Debtor name         2 Fish Company, LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Consumers Credit Union                       Describe debtor's property that is subject to a lien                   $11,887.03                $51,819.36
      Creditor's Name                              First Priority Security Interest in Deposit
                                                   Accounts at Consumers Credit Union; Third
      PO Box 525                                   Priority All Assets
      Oshtemo, MI 49077-0525
      Creditor's mailing address                   Describe the lien
                                                   All Assets Security Interest
                                                   Is the creditor an insider or related party?
      julie@consumerscu.org                           No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   FC Marketplace, LLC                          Describe debtor's property that is subject to a lien                   $17,611.62                $51,819.36
      Creditor's Name                              First Priority All Assets Security Interest
      dba Funding Circle                           (Except in Deposit Accounts at Consumers
      747 Front St. 4th Floor                      Credit Union
      San Francisco, CA 94111
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
                                   Case:24-01637-jwb                  Doc #:1 Filed: 06/20/2024                   Page 18 of 51

Debtor      2 Fish Company, LLC                                                                   Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Idea 247, Inc.                              Describe debtor's property that is subject to a lien                      $75,875.85   $51,819.36
      Creditor's Name                             Fourth Priority All Assets
      dba Idea Financial
      c/o Justin Leto
      200 SE 1st St., Suite 703
      Miami, FL 33131
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
      `                                              No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Small Business Admin.                       Describe debtor's property that is subject to a lien                     $326,722.06   $51,819.36
      Creditor's Name                             Second Priority security interest in All
                                                  tangible and intagible personal property.
      409 3rd. St. SW                             EIDL
      Washington, DC 20416
      Creditor's mailing address                  Describe the lien
                                                  Non-Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      July 19, 2021                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7804
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Swift Funding / Loan
2.5                                                                                                                              $0.00   $51,819.36
      Builder                                     Describe debtor's property that is subject to a lien
      Creditor's Name                             Notice Only. Loan has been paid off, UCC-1
                                                  Has not been Terminated. Second priority -
                                                  Accounts, AR, chattel paper, personal
      2474 McDonald Ave                           property, equipment, inventory, etc.
      Brooklyn, NY 11223
      Creditor's mailing address                  Describe the lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 4
                                 Case:24-01637-jwb                  Doc #:1 Filed: 06/20/2024                        Page 19 of 51

Debtor      2 Fish Company, LLC                                                                   Case number (if known)
            Name

                                                  Non-Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $432,096.56

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       58th District Court
       Case No. 24-8869-GC                                                                                  Line   2.1
       57 W. 8th St.
       Holland, MI 49423

       Barbara Muller-Wilson
       979 Spaulding Ave. SE, Suite B                                                                       Line   2.3
       Grand Rapids, MI 49546

       Lennon Miller, PLC
       151 S. Rose Street                                                                                   Line   2.1
       Suite 900
       Kalamazoo, MI 49007

       Levitan Law Firm, Ltd.
       One Pierce Place                                                                                     Line   2.2
       Suite 725W
       Itasca, IL 60143

       Merrick B. Garland
       Attorney General                                                                                     Line   2.4                                7804
       950 Pennsylvania Avenue
       Washington, DC 20530

       Muller Baatenburg & Wilson
       Law Group, PC                                                                                        Line   2.3                                4031
       33233 Woodward Ave, Box 3026
       Birmingham, MI 48012-3026

       Ottawa County Circuit Court
       Case No. 24-7724-CB                                                                                  Line   2.3
       414 Washington Ave. #320
       Grand Haven, MI 49417




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 4
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Debtor    2 Fish Company, LLC                                              Case number (if known)
          Name

      Small Business Admin.
      Regional Office                                                              Line   2.4
      411 Michigan Ave., Ste 1819
      Detroit, MI 48226

      United States Attorney
      Western Dist. of MI                                                          Line   2.4               7804
      330 Ionia Ave. NW
      Suite 501
      Grand Rapids, MI 49503




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property          page 4 of 4
                                 Case:24-01637-jwb                 Doc #:1 Filed: 06/20/2024                          Page 21 of 51

Fill in this information to identify the case:

Debtor name        2 Fish Company, LLC

United States Bankruptcy Court for the:          WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,770.43         $1,770.43
          City of Grand Rapids                                Check all that apply.
          Treasurer                                              Contingent
          300 Monroe Ave. NW                                     Unliquidated
          Grand Rapids, MI 49503                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2023                                                Withholding Tax

          Last 4 digits of account number 5068                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $387.07         $387.07
          City of Grand Rapids                                Check all that apply.
          Treasurer                                              Contingent
          300 Monroe Ave. NW                                     Unliquidated
          Grand Rapids, MI 49503                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2022                                                Tax Withholding

          Last 4 digits of account number 5068                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 6
                                                                                                              51660
                              Case:24-01637-jwb                     Doc #:1 Filed: 06/20/2024                           Page 22 of 51

Debtor       2 Fish Company, LLC                                                                        Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $22,823.86         $22,823.86
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Ops                              Contingent
          PO Box 7346                                             Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
          Q1, Q2, Q3, Q4 2023                                  Payroll Tax Liabilities (Form 941) 2023 Only

          Last 4 digits of account number 5068                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $9,687.86         $9,687.86
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Ops                              Contingent
          PO Box 7346                                             Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
          Q1 and Q2 2024                                       Payroll Tax Liabilities (Form 941) 2024 ONLY

          Last 4 digits of account number 5068                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $1,141.76         $1,141.76
          Michigan Dept. of Treasury                           Check all that apply.
          Tax Collection and Enforcement                          Contingent
          Bankruptcy Sectioni                                     Unliquidated
          Treasury Building                                       Disputed
          Lansing, MI 48922-0001
          Date or dates debt was incurred                      Basis for the claim:
          2023                                                 Withholdings Tax

          Last 4 digits of account number 5068                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.6       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $1,218.29         $1,218.29
          Michigan Dept. of Treasury                           Check all that apply.
          Tax Collection and Enforcement                          Contingent
          Bankruptcy Sectioni                                     Unliquidated
          Treasury Building                                       Disputed
          Lansing, MI 48922-0001
          Date or dates debt was incurred                      Basis for the claim:
          2024                                                 Withholding Tax

          Last 4 digits of account number 5068                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 6
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Debtor      2 Fish Company, LLC                                                             Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $7,524.12
         American Express                                             Contingent
         PO Box 981537                                                Unliquidated
         El Paso, TX 79998-1537                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Credit Card Purchases
         Last 4 digits of account number 1006
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $44,166.34
         American Express                                             Contingent
         PO Box 981537                                                Unliquidated
         El Paso, TX 79998-1537                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Credit Card Purchases
         Last 4 digits of account number 1005
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,067.87
         ASTA-USA Translation Svc.                                    Contingent
         Attn Karen Harmon, AP/AR Admin                               Unliquidated
         PO Box 22259                                                 Disputed
         Cheyenne, WY 82003-2148
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $234,170.05
         Bay First National Bank                                      Contingent
         700 Central Avenue                                           Unliquidated
         Saint Petersburg, FL 33701                                   Disputed
         Date(s) debt was incurred December 19, 2018
                                                                   Basis for the claim: SBA 7(A) Loan - Note, UCC-1 Termination filed
         Last 4 digits of account number 7010                      January 12, 2024.
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $33,374.04
         Brkthru Digital                                              Contingent
         600 Third Avenue                                             Unliquidated
         2nd Floor                                                    Disputed
         New York, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,019.01
         Capital One                                                  Contingent
         Spark Card                                                   Unliquidated
         PO Box 30285                                                 Disputed
         Salt Lake City, UT 84130-0285
                                                                   Basis for the claim: Credit Card Purchases
         Date(s) debt was incurred Various
         Last 4 digits of account number 4670                      Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,700.00
         Exceed Consulting, LLC                                       Contingent
         PO Box 530                                                   Unliquidated
         Byron Center, MI 49315                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 6
                              Case:24-01637-jwb                    Doc #:1 Filed: 06/20/2024                             Page 24 of 51

Debtor       2 Fish Company, LLC                                                                    Case number (if known)
             Name

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,845.00
          Geenen & Kolean, PC                                                 Contingent
          246 S. River Avenue, Ste. 201                                       Unliquidated
          Holland, MI 49423                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Accounting Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,250.00
          ISK Pro                                                             Contingent
          401 Park Ave. S.                                                    Unliquidated
          10th Floor                                                          Disputed
          New York, NY 10016
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,110.00
          Paragraph Writing Services                                          Contingent
          2318 Radcliff Village Dr. SE                                        Unliquidated
          Grand Rapids, MI 49546                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $15,809.46
          Rebecca Westhof                                                     Contingent
          6140 Lamb Creek Dr.                                                 Unliquidated
          Fort Worth, TX 76179                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Bookkeeping Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,493.73
          River Run Press                                                     Contingent
          600 Shoppers Lane                                                   Unliquidated
          Parchment, MI 49004                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $950.00
          Stratus Business Solutions                                          Contingent
          120 54th St. SW                                                     Unliquidated
          Grand Rapids, MI 49548                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Not paying settlement in time
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,246.59
          Wheeler Upham                                                       Contingent
          250 Monroe Ave. NW, Sutie 100                                       Unliquidated
          Grand Rapids, MI 49503                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Legal Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 6
                             Case:24-01637-jwb                   Doc #:1 Filed: 06/20/2024                           Page 25 of 51

Debtor      2 Fish Company, LLC                                                                 Case number (if known)
            Name


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

         Name and mailing address                                                               On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                related creditor (if any) listed?              account number, if
                                                                                                                                               any
4.1      American Express
         Business Amazon Card                                                                   Line   3.1                                      1006
         Attn: Bankruptcy
                                                                                                       Not listed. Explain
         PO Box 981535
         El Paso, TX 79998-1535

4.2      American Express
         Business Gold Card                                                                     Line   3.2
         Attn: Bankruptcy
                                                                                                       Not listed. Explain
         PO Box 981535
         El Paso, TX 79998-1535

4.3      D&A Services
         1400 E. Touhy Avenue                                                                   Line   3.1                                      9593
         Suite G2
                                                                                                       Not listed. Explain
         Des Plaines, IL 60018

4.4      First Home Bank
         9190 Seminole Blvd.                                                                    Line   3.4
         Seminole, FL 33772
                                                                                                       Not listed. Explain

4.5      Merrick Garland
         Attorney General of the US                                                             Line   3.4                                      7010
         950 Pennsylvania Ave. NW
                                                                                                       Not listed. Explain
         Washington, DC 20530

4.6      Michigan Attorney General
         G. Mennen Williams Bldg 7th Fl                                                         Line   2.5
         525 W. Ottawa St.
                                                                                                       Not listed. Explain
         PO Box 30212
         Lansing, MI 48909

4.7      Small Business Admin.
         409 3rd. St. SW                                                                        Line   3.4                                      7010
         Washington, DC 20416
                                                                                                       Not listed. Explain

4.8      Small Business Admin.
         Regional Office                                                                        Line   3.4                                      7010
         411 Michigan Ave., Ste 1819
                                                                                                       Not listed. Explain
         Detroit, MI 48226

4.9      Small Business Administration
         Grand Rapids Alt. Worksite                                                             Line   3.4                                      7010
         Ford Federal Bldg, Rm 307
                                                                                                       Not listed. Explain
         110 Michigan St. NW
         Grand Rapids, MI 49503

4.10     State of Michigan
         Office of Collections                                                                  Line   2.5
         PO Box 30149
                                                                                                       Not listed. Explain
         Lansing, MI 48909

4.11     Stillman Law Office
         30057 Orchard Lake Rd.                                                                 Line   3.2                                      8649
         Suite 200
                                                                                                       Not listed. Explain
         Farmington, MI 48334



Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 6
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Debtor      2 Fish Company, LLC                                                         Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                    any
4.12      United States Attorney
          Western Dist. of MI                                                          Line     3.4                                 7010
          330 Ionia Ave. NW
                                                                                              Not listed. Explain
          Suite 501
          Grand Rapids, MI 49503


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                     37,029.27
5b. Total claims from Part 2                                                              5b.    +    $                    365,726.21

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                      402,755.48




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 6 of 6
                             Case:24-01637-jwb                 Doc #:1 Filed: 06/20/2024                    Page 27 of 51

Fill in this information to identify the case:

Debtor name        2 Fish Company, LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease of three Apple
             lease is for and the nature of       Mac Book Pro M1
             the debtor's interest                computers. 36 month
                                                  term commenced May
                                                  2022 and terminating
                                                  May 2025.
                State the term remaining          11 months                         CIT
                                                                                    First Citizens Bank & Trust
             List the contract number of any                                        155 Commerce Way
                   government contract                                              Portsmouth, NH 03801


2.2.         State what the contract or           Lease of office space
             lease is for and the nature of       located at #230, Adams
             the debtor's interest                Point Building, 675 E.
                                                  16th Street Holland, MI
                                                  49423. Total lease term
                                                  3 years, commencing
                                                  December 1, 2023 and
                                                  terminating November
                                                  30, 2026. Monthly base
                                                  rent $690.00 with
                                                  scheduled increases
                                                  annually. Lease is a
                                                  gross lease. Security
                                                  deposit of $690.00 was
                                                  required and is held by
                                                  landlord. See also
                                                  Schedule AB.
                State the term remaining          2 Years 7 Months                  Hungerford, Aldrin, Nichols
                                                                                    & Carter, P.C.
             List the contract number of any                                        2910 Lucern Drive SE
                   government contract                                              Grand Rapids, MI 49546




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 2
                        Case:24-01637-jwb              Doc #:1 Filed: 06/20/2024               Page 28 of 51
Debtor 1 2 Fish Company, LLC                                                     Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.3.      State what the contract or        Contract for
          lease is for and the nature of    outsourced
          the debtor's interest             bookkeeping -
                                            Estimated 7 Hours per
                                            week at $30.00 per
                                            hour. Ms. Westhof has
                                            special experience with
                                            Debtor's practice
                                            management, billing
                                            and accounting
                                            software that is
                                            specialized for
                                            advertising and
                                            marketing companies.
             State the term remaining                                    Rebecca Westhof
                                                                         Westhoff Solutions, LLC
          List the contract number of any                                6140 Lamb Creek Dr.
                government contract                                      Fort Worth, TX 76179


2.4.      State what the contract or        Month to Month Copier
          lease is for and the nature of    Lease. $510.02 Per
          the debtor's interest             month Base Rent, plus
                                            Freight Fee and cost
                                            for printing above
                                            specified number of
                                            pages (black & white /
                                            color).                      Wells Fargo Financial
             State the term remaining                                    Leasing, Inc.
                                                                         Attn: Cusomer Care
          List the contract number of any                                PO Box 3072
                government contract                                      Cedar Rapids, IA 52406-3072




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 2
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Fill in this information to identify the case:

Debtor name      2 Fish Company, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Michelle Millen             846 Harvard                                               Consumers Credit                   D   2.1
                                      Holland, MI 49423                                         Union                              E/F
                                                                                                                                   G




   2.2    Michelle Millen             846 Harvard                                               Internal Revenue                   D
                                      Holland, MI 49423                                         Service                            E/F       2.3
                                      Co Debtor Liable for only portion withheld
                                                                                                                                   G
                                      from employee payroll.




   2.3    Michelle Millen             846 Harvard Ave.                                          Idea 247, Inc.                     D   2.3
                                      Holland, MI 49423                                                                            E/F
                                                                                                                                   G




   2.4    Michelle Millen             846 Harvard Dr.                                           Bay First National                 D
                                      Holland, MI 49423                                         Bank                               E/F       3.4
                                                                                                                                   G




   2.5    Michelle Millen             846 Harvard Dr.                                           Small Business                     D   2.4
                                      Holland, MI 49423                                         Admin.                             E/F
                                                                                                                                   G



Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 4
                         Case:24-01637-jwb            Doc #:1 Filed: 06/20/2024                 Page 30 of 51

Debtor    2 Fish Company, LLC                                                     Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Michelle Millen          846 Harvard Dr.                                     Michigan Dept. of                  D
                                   Holland, MI 49423                                   Treasury                           E/F   2.5
                                                                                                                          G




  2.7     Michelle Millen          846 Harvard                                         Internal Revenue                   D
                                   Holland, MI 49423                                   Service                            E/F   2.4
                                   Ms. Millen is only liable for the trust fund
                                                                                                                          G
                                   portion of this liability.




  2.8     Michelle Millen          846 Harvard                                         City of Grand Rapids               D
                                   Holland, MI 49423                                                                      E/F   2.1
                                                                                                                          G




  2.9     Michelle Millen          846 Harvard                                         City of Grand Rapids               D
                                   Holland, MI 49423                                                                      E/F   2.2
                                                                                                                          G




  2.10    Michelle Millen          846 Harvard                                         Michigan Dept. of                  D
                                   Holland, MI 49423                                   Treasury                           E/F   2.6
                                                                                                                          G




  2.11    Scott Millen             846 Harvard                                         Consumers Credit                   D   2.1
                                   Holland, MI 49423                                   Union                              E/F
                                                                                                                          G




  2.12    Scott Millen             846 Harvard                                         Internal Revenue                   D
                                   Holland, MI 49423                                   Service                            E/F   2.3
                                   Co Debtor Liable for only portion withheld
                                                                                                                          G
                                   from employee payroll.




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 4
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Debtor    2 Fish Company, LLC                                                     Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.13    Scott Millen             846 Harvard Ave.                                    Idea 247, Inc.                     D   2.3
                                   Holland, MI 49423                                                                      E/F
                                                                                                                          G




  2.14    Scott Millen             846 Harvard Dr.                                     Bay First National                 D
                                   Holland, MI 49423                                   Bank                               E/F   3.4
                                                                                                                          G




  2.15    Scott Millen             846 Harvard Dr.                                     Small Business                     D   2.4
                                   Holland, MI 49423                                   Admin.                             E/F
                                                                                                                          G




  2.16    Scott Millen             846 Harvard Dr.                                     American Express                   D
                                   Holland, MI 49423                                                                      E/F   3.1
                                                                                                                          G




  2.17    Scott Millen             846 Harvard Dr.                                     Michigan Dept. of                  D
                                   Holland, MI 49423                                   Treasury                           E/F   2.5
                                                                                                                          G




  2.18    Scott Millen             846 Harvard Dr.                                     FC Marketplace, LLC                D   2.2
                                   Holland, MI 49423                                                                      E/F
                                                                                                                          G




  2.19    Scott Millen             846 Harvard                                         Internal Revenue                   D
                                   Holland, MI 49423                                   Service                            E/F   2.4
                                   Mr. Millen is only liable for the trust fund
                                                                                                                          G
                                   portion of this liability.




  2.20    Scott Millen             846 Harvard                                         City of Grand Rapids               D
                                   Holland, MI 49423                                                                      E/F   2.1
                                                                                                                          G



Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 4
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Debtor    2 Fish Company, LLC                                                     Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.21    Scott Millen             846 Harvard                                         City of Grand Rapids               D
                                   Holland, MI 49423                                                                      E/F   2.2
                                                                                                                          G




  2.22    Scott Millen             846 Harvard                                         Michigan Dept. of                  D
                                   Holland, MI 49423                                   Treasury                           E/F   2.6
                                                                                                                          G




  2.23    Scott Millen             846 Harvard                                         Capital One                        D
                                   Holland, MI 49423                                                                      E/F   3.6
                                                                                                                          G




  2.24    Scott Millen             846 Harvard                                         American Express                   D
                                   Holland, MI 49423                                                                      E/F   3.2
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 4 of 4
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Fill in this information to identify the case:

Debtor name         2 Fish Company, LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $164,518.73
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $460,101.53
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $788,399.13
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                            Case:24-01637-jwb                  Doc #:1 Filed: 06/20/2024                      Page 34 of 51
Debtor       2 Fish Company, LLC                                                                Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Idea Financial v. 2 Fish                  Contract                    Ottawa County Circuit                         Pending
             Company, LLC et al                                                    Court                                         On appeal
             24-7724-CB                                                            Case No. 24-7724-CB
                                                                                                                                 Concluded
                                                                                   414 Washington Ave. #320
                                                                                   Grand Haven, MI 49417

      7.2.   Consumers Credit Union v. 2               Contract                    58th District Court                           Pending
             Fish Company, LLC                                                     57 W. 8th St.                                 On appeal
             24-8869-GC                                                            Holland, MI 49423
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor        2 Fish Company, LLC                                                                 Case number (if known)



              Recipient's name and address             Description of the gifts or contributions                  Dates given                          Value

      9.1.    Various                                  Discounts on work completed for
                                                       specified charities chosen through an
                                                       application process.                                                                      $24,710.60

              Recipients relationship to debtor




Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Oppenhuizen Law Firm, PLC
               125 Ottawa Ave. NW, Suite
               237                                                                                                     February
               Grand Rapids, MI 49503                    Attorney Fees and Chapter 11 Filing Fee                       27, 2024                  $20,000.00

               Email or website address
               joppenhuizen@oppenhuizenlaw.co
               m

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.




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Debtor        2 Fish Company, LLC                                                                Case number (if known)




          None.

              Who received transfer?                   Description of property transferred or                     Date transfer            Total amount or
              Address                                  payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     440 S. State St. Suite 300                                                                          2017 - October 31, 2023
                Zeeland, MI 49464

      14.2.     675 E. 16th Street, #20                                                                             November 15, 2023 - May 31, 2024
                Holland, MI 49423

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    SIMPLE IRA at Edward Jones                                                          EIN:

                    Has the plan been terminated?
                       No
                       Yes


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor      2 Fish Company, LLC                                                                  Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Scott & Michelle Millen                                Scott and Michelle Millen,            Full List Available WireMac31                  No
      846 Harvard Dr.                                        Debtor's Members - Items              Binder, Microwave, Fridge, 2                   Yes
      Holland, MI 49423                                      stored at the Millen home.            Coffee Makers, Shredder,
                                                                                                   Dahle 534, Dahle 552, 3 IKEA
                                                                                                   L-Shaped Bekant Desk
                                                                                                   (1R&2L) Gray Standing,
                                                                                                   Switch 24 250w, 2 802.11AC
                                                                                                   Scalable Enterprise Wi-Fi
                                                                                                   Technology, EdgeRouter
                                                                                                   LITE, 3 Synology Wireless
                                                                                                   Mesh Routers, Various
                                                                                                   computers and A/V
                                                                                                   equipment.




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      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
      Ottogan Self Storage                                  Scott & Michelle Millen,              IKEA GALLANT wide drawer                      No
      9237 Ottogan Street                                   Debtor's Members                      unit                                          Yes
      Holland, MI 49423                                                                           IKEA GALLANT wide drawer
                                                                                                  unit
                                                                                                  IKEA GALLANT 2-Drawer
                                                                                                  Combo Lock File Cabinet
                                                                                                  IKEA GALLANT 2-Drawer
                                                                                                  Combo Lock File Cabinet
                                                                                                  IKEA GALLANT 4-Drawer
                                                                                                  Combo Lock File Cabinet
                                                                                                  IKEA GALLANT 4-Drawer
                                                                                                  Combo Lock File Cabinet
                                                                                                  IKEA GALLANT 2-Drawer
                                                                                                  Combo Lock File Cabinet
                                                                                                  IKEA 4-Drawer Thin Rolling
                                                                                                  Cabinet
                                                                                                  Black 5-Drawer Flat File with
                                                                                                  Stand
                                                                                                  Gray Wood-backed task chair

      Karen Westers (Private Residence)                     Scott and Michelle Millen,            Gray Wood-backed task chair                   No
      810 Amber Ridge Dr. SW                                Debtor's Memebers, and                White Set of Nesting (2) Side                 Yes
      Byron Center, MI 49315                                Karen Westers                         Tables
                                                                                                  IKEA Short Rectanglular
                                                                                                  Bekant
                                                                                                  IKEA Short Rectanglular
                                                                                                  Bekant
                                                                                                  IKEA Short Rectanglular
                                                                                                  Bekant
                                                                                                  Wood side chair with green
                                                                                                  upholstery
                                                                                                  Round Black table small
                                                                                                  Haworth Round Wood Table
                                                                                                  with Casters
                                                                                                  IKEA 4 up bookcase credenza
                                                                                                  with sliding doors
                                                                                                  Arc Floor Lamp



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.


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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Emily Colenbrander                                                                                                 2020-April 2024
                    Geenen & Kolean, P.C.                                                                                              CPA - Professional
                    246 S. River Ave. #201                                                                                             Services Provided
                    Holland, MI 49423
      26a.2.        Rebecca Westhof                                                                                                    2021 - present
                    6140 Lamb Creek Dr.                                                                                                Bookkeeping Only
                    Fort Worth, TX 76179

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

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    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory
      27.1 Scott Millen                                                                                      Solely inventoried furniture and
      .                                                                                                      equipment. Debtor Does not carry
                                                                                                             Inventory - the purpose was
                                                                                                             determining the location of all owned
                                                                                    April 25, 2024           furniture and equipment.

             Name and address of the person who has possession of
             inventory records
             Scott Millen
             846 Harvard Dr.
             Holland, MI 49423


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Scott Millen                            846 Harvard Dr.                                     Member                                    50
                                              Holland, MI 49423

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Michelle Millen                         846 Harvard Dr.                                     Member                                    50
                                              Holland, MI 49423



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.




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Debtor       2 Fish Company, LLC                                                             Case number (if known)



             Name and address of recipient         Amount of money or description and value of                Dates            Reason for
                                                   property                                                                    providing the value
      30.1 Scott Millen
      .    846 Harvard Dr.
             Holland, MI 49423                     $41,738.61 (Q3 2023 - Q2 2024 to date)                                      Payroll

             Relationship to debtor
             Member


      30.2 Michelle Millen
      .    846 Harvard Dr.
             Holland, MI 49423                     $39,937.56 (Q3 2023 - Q2 2024 to date)                                      Payroll

             Relationship to debtor
             Member


      30.3                                                                                                    1/4/2024 $23,
      .                                                                                                       1/28/2024
                                                                                                              $57.37,
                                                                                                              1/29/2024
                                                                                                              $47.90,
                                                                                                              2/2/2024
                                                                                                              $34.00,
                                                                                                              2/5/2024
                                                                                                              $23.00,
                                                                                                              2/21/2024
                                                                                                              $1,447.46,
                                                                                                              3/4/2024
                                                                                                              45.98,
                                                                                                              3/8/2024
                                                                                                              $124.94,
                                                                                                              4/5/2024
                                                                                                              $23.00,
                                                                                                              4/12/2024
                                                                                                              $67.20,
                                                                                                              4/13/2024
                                                                                                              $14.99,          General
                                                                                                              4/15/2024        non-deductable
                                                                                                              $108.96,         purchases from
                                                                                                              5/2/2024         the business
             Scott and Michelle Millen                                                                        $11.65,          account, which
             846 Harvard Dr.                                                                                  5/6/2024         were placed in the
             Holland, MI 49423                     $2,052.45                                                  $23.00           Draw account.

             Relationship to debtor
             Members


      30.4                                                                                                    4/15/24
      .                                                                                                       $80.00,
                                                                                                              4/30/24
                                                                                                              $69.23,
                                                                                                              5/15/24
                                                                                                              $80.00,
             Scott Millen                                                                                     5/31/24
             846 Harvard Dr.                                                                                  $80.00,          Company match
             Holland, MI 49423                     $389.23                                                    6/17/24 $80.00   SIMPLE IRA

             Relationship to debtor
             Member




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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.5                                                                                                       4/15/24
      .                                                                                                          $54.17,
                                                                                                                 4/30/24
                                                                                                                 $43.11,
                                                                                                                 5/15/24
                                                                                                                 $54.17,
             Michelle Millen                                                                                     5/31/24
             846 Harvard Dr.                                                                                     $54.16,           Employer match
             Holland, MI 49423                         $259.78                                                   6/14/24 $54.17    SIMPLE IRA

             Relationship to debtor
             Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund
   Edward Jones SIMPLE IRA                                                                             EIN:


Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 19, 2024

/s/ Scott Millen                                                Scott Millen
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                      United States Bankruptcy Court
                                                             Western District of Michigan
 In re    2 Fish Company, LLC                                                                                     Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Michelle Millen                                                                   50 Units / 50%                             Membership Interest
846 Harvard Dr.
Holland, MI 49423

Scott Millen                                                                      50 Units / 50%                             Membership Interest
846 Harvard Dr.
Holland, MI 49423


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date June 19, 2024                                                       Signature /s/ Scott Millen
                                                                                        Scott Millen

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                    Western District of Michigan
 In re   2 Fish Company, LLC                                                                     Case No.
                                                                    Debtor(s)                    Chapter     11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     June 19, 2024                                 /s/ Scott Millen
                                                        Scott Millen/Member
                                                        Signer/Title
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              58TH DISTRICT COURT
              CASE NO. 24-8869-GC
              57 W. 8TH ST.
              HOLLAND MI 49423


              AMERICAN EXPRESS
              PO BOX 981537
              EL PASO TX 79998-1537


              AMERICAN EXPRESS
              BUSINESS AMAZON CARD
              ATTN: BANKRUPTCY
              PO BOX 981535
              EL PASO TX 79998-1535


              AMERICAN EXPRESS
              BUSINESS GOLD CARD
              ATTN: BANKRUPTCY
              PO BOX 981535
              EL PASO TX 79998-1535


              ASTA-USA TRANSLATION SVC.
              ATTN KAREN HARMON, AP/AR ADMIN
              PO BOX 22259
              CHEYENNE WY 82003-2148


              BARBARA MULLER-WILSON
              979 SPAULDING AVE. SE, SUITE B
              GRAND RAPIDS MI 49546


              BAY FIRST NATIONAL BANK
              700 CENTRAL AVENUE
              SAINT PETERSBURG FL 33701


              BRKTHRU DIGITAL
              600 THIRD AVENUE
              2ND FLOOR
              NEW YORK NY 10016


              CAPITAL ONE
              SPARK CARD
              PO BOX 30285
              SALT LAKE CITY UT 84130-0285
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          CIT
          FIRST CITIZENS BANK & TRUST
          155 COMMERCE WAY
          PORTSMOUTH NH 03801


          CITY OF GRAND RAPIDS
          TREASURER
          300 MONROE AVE. NW
          GRAND RAPIDS MI 49503


          CONSUMERS CREDIT UNION
          PO BOX 525
          OSHTEMO MI 49077-0525


          D&A SERVICES
          1400 E. TOUHY AVENUE
          SUITE G2
          DES PLAINES IL 60018


          EXCEED CONSULTING, LLC
          PO BOX 530
          BYRON CENTER MI 49315


          FC MARKETPLACE, LLC
          DBA FUNDING CIRCLE
          747 FRONT ST. 4TH FLOOR
          SAN FRANCISCO CA 94111


          FIRST HOME BANK
          9190 SEMINOLE BLVD.
          SEMINOLE FL 33772


          GEENEN & KOLEAN, PC
          246 S. RIVER AVENUE, STE. 201
          HOLLAND MI 49423


          HUNGERFORD, ALDRIN, NICHOLS
          & CARTER, P.C.
          2910 LUCERN DRIVE SE
          GRAND RAPIDS MI 49546


          IDEA 247, INC.
          DBA IDEA FINANCIAL
          C/O JUSTIN LETO
          200 SE 1ST ST., SUITE 703
          MIAMI FL 33131
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          INTERNAL REVENUE SERVICE
          CENTRALIZED INSOLVENCY OPS
          PO BOX 7346
          PHILADELPHIA PA 19101-7346


          ISK PRO
          401 PARK AVE. S.
          10TH FLOOR
          NEW YORK NY 10016


          LENNON MILLER, PLC
          151 S. ROSE STREET
          SUITE 900
          KALAMAZOO MI 49007


          LEVITAN LAW FIRM, LTD.
          ONE PIERCE PLACE
          SUITE 725W
          ITASCA IL 60143


          MERRICK B. GARLAND
          ATTORNEY GENERAL
          950 PENNSYLVANIA AVENUE
          WASHINGTON DC 20530


          MERRICK GARLAND
          ATTORNEY GENERAL OF THE US
          950 PENNSYLVANIA AVE. NW
          WASHINGTON DC 20530


          MICHELLE MILLEN
          846 HARVARD
          HOLLAND MI 49423


          MICHELLE MILLEN
          846 HARVARD AVE.
          HOLLAND MI 49423


          MICHELLE MILLEN
          846 HARVARD DR.
          HOLLAND MI 49423
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          MICHIGAN ATTORNEY GENERAL
          G. MENNEN WILLIAMS BLDG 7TH FL
          525 W. OTTAWA ST.
          PO BOX 30212
          LANSING MI 48909


          MICHIGAN DEPT. OF TREASURY
          TAX COLLECTION AND ENFORCEMENT
          BANKRUPTCY SECTIONI
          TREASURY BUILDING
          LANSING MI 48922-0001


          MULLER BAATENBURG & WILSON
          LAW GROUP, PC
          33233 WOODWARD AVE, BOX 3026
          BIRMINGHAM MI 48012-3026


          OTTAWA COUNTY CIRCUIT COURT
          CASE NO. 24-7724-CB
          414 WASHINGTON AVE. #320
          GRAND HAVEN MI 49417


          PARAGRAPH WRITING SERVICES
          2318 RADCLIFF VILLAGE DR. SE
          GRAND RAPIDS MI 49546


          REBECCA WESTHOF
          6140 LAMB CREEK DR.
          FORT WORTH TX 76179


          REBECCA WESTHOF
          WESTHOFF SOLUTIONS, LLC
          6140 LAMB CREEK DR.
          FORT WORTH TX 76179


          RIVER RUN PRESS
          600 SHOPPERS LANE
          PARCHMENT MI 49004


          SCOTT MILLEN
          846 HARVARD
          HOLLAND MI 49423


          SCOTT MILLEN
          846 HARVARD AVE.
          HOLLAND MI 49423
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          SCOTT MILLEN
          846 HARVARD DR.
          HOLLAND MI 49423


          SMALL BUSINESS ADMIN.
          409 3RD. ST. SW
          WASHINGTON DC 20416


          SMALL BUSINESS ADMIN.
          REGIONAL OFFICE
          411 MICHIGAN AVE., STE 1819
          DETROIT MI 48226


          SMALL BUSINESS ADMINISTRATION
          GRAND RAPIDS ALT. WORKSITE
          FORD FEDERAL BLDG, RM 307
          110 MICHIGAN ST. NW
          GRAND RAPIDS MI 49503


          STATE OF MICHIGAN
          OFFICE OF COLLECTIONS
          PO BOX 30149
          LANSING MI 48909


          STILLMAN LAW OFFICE
          30057 ORCHARD LAKE RD.
          SUITE 200
          FARMINGTON MI 48334


          STRATUS BUSINESS SOLUTIONS
          120 54TH ST. SW
          GRAND RAPIDS MI 49548


          SWIFT FUNDING / LOAN BUILDER
          2474 MCDONALD AVE
          BROOKLYN NY 11223


          UNITED STATES ATTORNEY
          WESTERN DIST. OF MI
          330 IONIA AVE. NW
          SUITE 501
          GRAND RAPIDS MI 49503
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          WELLS FARGO FINANCIAL
          LEASING, INC.
          ATTN: CUSOMER CARE
          PO BOX 3072
          CEDAR RAPIDS IA 52406-3072


          WHEELER UPHAM
          250 MONROE AVE. NW, SUTIE 100
          GRAND RAPIDS MI 49503
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                                        United States Bankruptcy Court
                                             Western District of Michigan
 In re   2 Fish Company, LLC                                                       Case No.
                                                           Debtor(s)               Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 2 Fish Company, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Michelle Millen
846 Harvard Dr.
Holland, MI 49423
Scott Millen
846 Harvard Dr.
Holland, MI 49423




  None [Check if applicable]




June 19, 2024                                  /s/ James R. Oppenhuizen
Date                                           James R. Oppenhuizen
                                               Signature of Attorney or Litigant
                                               Counsel for 2 Fish Company, LLC
                                               Oppenhuizen Law Firm, PLC
                                               125 Ottawa Ave. NW, Suite 237
                                               Grand Rapids, MI 49503
                                               616-730-1861
                                               joppenhuizen@oppenhuizenlaw.com
